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7                        IN THE UNITED STATES DISTRICT COURT

8                                    DISTRICT OF ARIZONA
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     Ronald H. Pratte,                                Case No.: 2: 19-cv-00239-PHX-GMS
10
                   Plaintiff,
11
                                                                      ORDER
12   vs.

13   Jeffrey Bardwell and Fanny F. Bardwell,
14
     husband and wife,

15                 Defendants.

16
            Pending before the Court is the Parties’ Joint Status Report and Proposed
17
     Scheduling Dates submitted pursuant to the Court’s Order of March 20, 2020 (Doc. 42).
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19   Upon review of the Joint Status Report, for good cause shown, the Court issues new

20   deadlines as set forth below.
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            IT IS HEREBY ORDERED:
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23
            1. The deadline for final supplementation of MIDP responses and Extending the

24   deadline for final supplementation of MIDP responses and the completion of fact
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     discovery, including discovery by subpoena is _________________, 2020.
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            2. The deadline for Plaintiff to provide full and complete expert disclosures is
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28   _________________, 2020.



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1            3. The deadline for Defendants to provide full and complete expert disclosures is
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     _________________, 2020.
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             4. The deadline for rebuttal expert disclosures is _________________, 2020.

5            5. The deadline for completing all expert depositions is _________________,
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     2020.
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             6. The dispositive motion deadline, if any are to be filed, is _________________,
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9    2020.
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             7. The pre-motion conference letter submission and contact date is set for
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     _____________, 2020. On or before that date the parties shall exchange their respective
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13   two-page letters regarding any anticipated dispositive motions, and on ____________,

14   2020, the parties shall contact the Court to schedule a time for the pre-motion conference,
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     if needed.
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